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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

In Re:                                         )       Chapter 7
                                               )
Ascension Air Management, Inc.,                )       Case No. 20-62473-PMB
                                               )
                     Debtor.                   )

                            NOTICE OF APPEARANCE

         Please take notice that, pursuant to Bankruptcy Rule 9010(b), Michael D. Flint

and Jonathan A. Akins of the firm of Schreeder, Wheeler & Flint, LLP, whose office

address and telephone number appears below, hereby enter an appearance in the

above-referenced case as counsel for Air JP, LLC and Air Columbia, LLC

(collectively, “Creditors”), and hereby authorize you to enter such appearance and

to do all that is necessary in connection therewith.

         Pursuant to Sections 342 and 1109(b) of the Bankruptcy Code and Bankruptcy

Rules 2002, 3017 and 9010, Creditors requests that copies of all notices and

pleadings given or filed in this case be given and served upon it at the following

address and/or e-mail address below:
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                                  Michael D. Flint
                                 Jonathan A. Akins
                         SCHREEDER, WHEELER & FLINT, LLP
                            1100 Peachtree Street, N.E.,
                                     Suite 800
                              Atlanta, Georgia 30309
                             Telephone: 404-681-3450
                             Facsimile: 404-681-1046
                                mflint@swfllp.com
                                jakins@swfllp.com

      Please take further notice that, pursuant to Section 1109(b) of the Bankruptcy

Code, the foregoing demand includes not only the notices and papers referred to in

the Rules specified above but also includes, without limitation, any notice,

application, complaint, demand, motion, petition, pleading, plan of reorganization,

disclosure statement order or request, whether formal or informal, written or oral,

and whether transmitted or conveyed by mail, hand delivery, facsimile, courier

service, electronic filing, telephone or otherwise filed with regard to the above-

reference cases and the proceedings.

      Please take further notice that Creditors intend that neither this Notice of

Appearance nor any later appearance, pleading, claim or suit shall waive their rights

with respect to (1) having final orders in noncore matters entered only after de novo

review by the district judge; (2) trial by jury in an proceeding so triable in these cases

or any cases, controversy or proceeding related to these cases; (3) having the district

court withdraw the reference in any matter subject to mandatory or discretionary

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withdrawal; or (4) any other rights, claims, actions, defenses, setoffs, or recoupments

to which Creditors are or may be entitled under agreements, in law, in equity or

otherwise, all of which rights, claims, actions, defenses, setoffs, and recoupments

the undersigned expressly reserves.

      This the 10th day of February, 2020.

                                        /s/ Jonathan A. Akins
                                        MICHAEL D. FLINT
                                        GEORGIA BAR NO. 264725
                                        JONATHAN A. AKINS
                                        GEORGIA BAR NO. 472453
                                        Attorney for Creditors

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                             CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the within and foregoing

NOTICE OF APPEARANCE was served on all registered filers who have entered

an appearance in this case through the Court’s electronic case filing system (ECF).

      This the 10th day of February, 2020.

                                             /s/ Jonathan A. Akins
                                             Jonathan A. Akins, Esq.
                                             Georgia Bar No. 472453

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